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ATTORNEYS FOR CREDITORS and PLAINTIFFS
Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA -- SANTA ANA DIVISION

In re: Case No. 8:16-bk-10223-ES
Adversary Case No.: 8:16-ap-01114-ES
Kent W. Easter, dba Kent Easter

Consulting, dba Law Offices of Kent W.

Easter PLAINTIFFS’ RESPONSE TO
DEFENDANT’S IMPROPER “SUR-
REPLY” IN OPPOSITION TO
MOTION FOR SUMMARY
JUDGMENT

Kelli Peters, Bill Peters and Sydnie Peters,

+t Date: November 10, 2016
Plaintiffs, Time: 10:30 a.m.
yg. Department: 5A

Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter,

Defendants.

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PLAINTIFFS’ RESPONSE TO DEFENDANT’S IMPROPER “SUR-REPLY”

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I. INTRODUCTION.

Kent Easter’s Sur-Reply is improper. A sur-reply is not authorized by the Local
Bankruptcy Rules, and Easter did obtain relief from the Court to file a sur-reply. The Court
should disregard and strike the improper Sur-Reply from the record. In the event the Court
does consider the Sur-Reply, however, Plaintiffs should be permitted to respond in writing
and respectfully request that the Court consider the following.

II. STIPULATION RE NONDISCHARGEABILITY.

Contrary to Easter’s assertion, the stipulation re nondischargeability was not raised
for the first time in the Reply. The stipulation was attached to the MSJ as Exhibit 3, and
was referenced on page 5 of the MSJ. Plaintiffs have never asserted that the stipulation to
nondischargeability is by itself dispositive, but the fact remains that Kent Easter specifically
stipulated that his conduct was willful and malicious (and hence nondischargeable) pursuant

to §523(a)(6). In his Opposition, Easter is now trying to backpedal from this admission.

Although a bare stipulation to nondischargeability is not by itself enforceable, a
debtor may stipulate to the grounds for nondischargeability under 11 U.S.C.
§ 523(a). (See, e.g., Bank of China v. Huang Gn re Huang), 275 F.3d 1173, 1178 (9th Cir.

2002) (debt was dischargeable because the settlement agreement failed to recite facts

supporting fraud).) In this case, Easter stipulated to FACTS supporting nondischargeability.

Ill. EASTER’S CONDUCT WAS WILLFUL AND MALICIOUS, AND IS
NONDISCHARGEABLE AS TO ALL PLAINTIFFS.

Easter continues to argue that, for purposes of nondischargeability under §523(a)(6),
his actions were not “willful” with respect to Plaintiffs Bill Peters and Sydnie Peters. As
discussed in the Reply, this argument without merit, and is directly contradicted by the 9

Circuit case of Britton v. Price, 950 F.2d 602, 605 (9 Cir. 1991). Britton holds that the

“intent” requirement of §523(a){6) relates to the act at issue, not the intended consequences.
Plaintiffs cited Britton in both their MSJ (p. 9) and their Reply (p 7.) Britton states:

Section 523(a)(6) provides that a debt for “willful and malicious injury
by the debtor” will not be discharged... “Willful,” in this context, means

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PLAINTIFFS’ RESPONSE TO DEFENDANT'S IMPROPER “SUR-REPLY”

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“deliberate or intentional.” [citations] Thus, the creditor must show the .
debtor acted intentionally. The intent required is intent to do the act
at issue, not intent to injure the victim. C.I.T. Fin. Serv., Inc. v. Posta
(In re Posta), 866 F.2d 364, 367 (10th Cir. 1989) (“The ‘willful’ element
is straightforward. It simply addresses whether the debtor intentionally
performed the basic act complained of.”).

To prove malice, the creditor must make a further showing. The
creditor need not prove that the debtor specifically intended to
injure the debtor. [Citation]. However, the creditor must show the
debtor's actual knowledge or the reasonable foreseeability that his
conduct will result in injury to the creditor. [Citation]. In its leading
case on this issue, the Ninth Circuit has stated: “When a wrongful act
such as conversion, done intentionally, necessarily produces harm and is
without just cause or excuse, it is ‘willful or malicious’ even absent
proof of a specific intent to injure.” Cecchini, 780 F.2d at 1443. As set
forth in Cecchini, “the act must necessarily cause harm to the
creditor, but the creditor need not show that the debtor acted with
an intent to harm the creditor.” [Citations].

(Britton v. Price, 950 F.2d 602, 605 (9 Cir. 1991), emphases added, citations

omitted.) Easter has never even addressed Britton (in either his Opposition or improper

Sur-Reply) much less attempted to explain why this authority doesn’t apply to the instant
case. As discussed in Plaintiff's Reply, it has already been decided (both via stipulation and
via the judgment) that Easter’s actions were the actual and proximate cause of the injuries
suffered by Plaintiffs Bill and Sydnic Peters, and thus foreseeable. (See CACI 1600 and
supporting authority, e.g., Hughes v. Pair (2009) 46 Cal 4th 1035, 1050—1051). Easter

does not get to re-litigate this issue or renege on his prior stipulation.
IV. APPEAL DOES NOT PREVENT COLLATERAL ESTOPPEL.

Easter is simply wrong that a state court judgment on appeal is not final for purposes
of collateral estoppel in nondischargeability proceedings. Plaintiffs cited over a dozen cases
and multiple treatises—none of which are even addressed by Easter. Easter’s attempts to

distinguish Robi v Five Platters, Inc., 838 F.2d. 318, is without merit. Robi has been

repeatedly cited by Bankruptcy courts for the proposition that “[t]he bare act of taking an

appeal is no more effective to defeat preclusion than a failure to appeal. The

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PLAINTIFFS’ RESPONSE TO DEFENDANT'S IMPROPER “SUR-REPLY”

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established rule in federal courts is that a final judgment retains all of its res judicata
consequences pending decision of the appeal.” (United States v. Towe (In re Towe), 147

B.R. 545, 550 (Bankr. D. Mont. 1992) (citing Robi, 838 F.2d at 327).) The “finality”

requirement for the application of collateral estoppel “does not mean that an appeal of an
otherwise final judgment will preclude the application of the doctrine, as long as the other
requirements are met.” (HON. B. RUSSELL, BANKRUPTCY EVIDENCE MANUAL § 31
(Finality) (2004 ed.) (citing In re Wilson, 116 F.3d 87 (3d Cir. 1997); In re Wood, 167 B.R.
83 (Bankr. W.D. Tex. 1994); In re Sokol, 170 B.R. 556, 560 n.3 (Bankr. S.D.N.Y.

1994), aff?'d. 181 B.R. 27 (S.D.N.Y. 1995).) (See Plaintiffs’ Reply Brief, pp. 9-10.)

Easter has already admitted to willful and malicious conduct, and there is an
enforceable judgment confirming this conduct. The debt is nondischargeable pursuant to

§523(a)(6). Plaintiffs respectfully request that the MSJ be granted.

Dated: November 3, 2016 MARCEREAU & NAZIF

/s/ Robert H. Marcereau
Robert H. Marcereau
Attorneys for Plaintiffs

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PLAINTIFFS’ RESPONSE TO DEFENDANT’S IMPROPER “SUR-REPLY”

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing decument entitled (specify): PLAINTIFFS’ RESPONSE TO DEFENDANT'S
IMPROPER “SUR-REPLY” IN OPPOSITION TO MOTION FOR SUMMARY JUDGMENT will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/03/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Robert P. Goe: kmurphy@goeforlaw.com, rgoe@goeforlaw.com; goeforecf@gmail.com
Trustee, Weneta M. Kosmala: ecf.alert+Kosmala@titlexi.com; wkosmala@txitrustee.com; dmf@ixitrustee.com;
kgeorge@kosmalalaw.com
United States Trustee: ustpregion16.sa.ecf@usdoj.gov
L] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 11/03/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor/Defendant: Attorney for Debtor/Defendant: Trustee:

Kent W. Easter Robert P. Goe Weneta M Kosmala

153 Baywood Dr. Goe & Forsythe, LLP 3 MacArthur Place, Suite 760
Newport Beach, CA 92660 18101 Von Karman, Ste 1200 Santa Ana, CA 92707

Irvine, CA 92612
L] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 11/03/16 | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing fo such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Judge: Hon. Erithe A. Smith, U.S. Bankruptcy Court Central District, 411 W. Fourth St., Suite 5040 / Cirm 5A, Santa Ana,
CA 92701-4593

L] Service information continued on attached page
declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/03/2016 Nicole Lipowski_ /sf Nicole Lipowski
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
